                    Case 23-31472            Doc 1       Filed 07/26/23 Entered 07/26/23 18:03:02                              Desc Main
                                                           Document     Page 1 of 52

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MINNESOTA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                DURABOTICS, INC.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1279 TRAPP ROAD STE 110
                                  EAGAN, MN 55121
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Dakota                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       WWW.DURABOTICS.COM


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 23-31472                Doc 1      Filed 07/26/23 Entered 07/26/23 18:03:02                                    Desc Main
                                                              Document     Page 2 of 52
Debtor    DURABOTICS, INC.                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3399

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                    Case 23-31472                   Doc 1         Filed 07/26/23 Entered 07/26/23 18:03:02                                Desc Main
                                                                    Document     Page 3 of 52
Debtor    DURABOTICS, INC.                                                                                Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                    Case 23-31472    Doc 1        Filed 07/26/23 Entered 07/26/23 18:03:02                      Desc Main
                                                    Document     Page 4 of 52
Debtor   DURABOTICS, INC.                                                            Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                    Case 23-31472            Doc 1       Filed 07/26/23 Entered 07/26/23 18:03:02                                Desc Main
                                                           Document     Page 5 of 52
Debtor    DURABOTICS, INC.                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 26, 2023
                                                  MM / DD / YYYY


                             X /s/ RONALD F. JOST                                                         RONALD F. JOST
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   PRESIDENT




18. Signature of attorney    X /s/ JOHN D. LAMEY III                                                       Date July 26, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 JOHN D. LAMEY III 0312009
                                 Printed name

                                 LAMEY LAW FIRM, P.A.
                                 Firm name

                                 980 INWOOD AVE N
                                 OAKDALE, MN 55128-7094
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     651.209.3550                  Email address      JLAMEY@LAMEYLAW.COM

                                 0312009 MN
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
              Case 23-31472               Doc 1        Filed 07/26/23 Entered 07/26/23 18:03:02                            Desc Main
                                                         Document     Page 6 of 52




Fill in this information to identify the case:

Debtor name         DURABOTICS, INC.

United States Bankruptcy Court for the:     DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 26, 2023                   X /s/ RONALD F. JOST
                                                           Signature of individual signing on behalf of debtor

                                                            RONALD F. JOST
                                                            Printed name

                                                            PRESIDENT
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                   Case 23-31472                            Doc 1               Filed 07/26/23 Entered 07/26/23 18:03:02                                                           Desc Main
                                                                                  Document     Page 7 of 52
 Fill in this information to identify the case:

 Debtor name            DURABOTICS, INC.

 United States Bankruptcy Court for the:                       DISTRICT OF MINNESOTA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           100,200.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           100,200.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,357,313.81


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            16,965.07

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           869,932.73


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,244,211.61




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
              Case 23-31472                Doc 1      Filed 07/26/23 Entered 07/26/23 18:03:02                         Desc Main
                                                        Document     Page 8 of 52
Fill in this information to identify the case:

Debtor name      DURABOTICS, INC.

United States Bankruptcy Court for the:     DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                         debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                        200.00      -                                 0.00 = ....                     $200.00
                                      face amount                           doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                           $200.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                           page 1
              Case 23-31472                Doc 1       Filed 07/26/23 Entered 07/26/23 18:03:02                             Desc Main
                                                         Document     Page 9 of 52
Debtor       DURABOTICS, INC.                                                               Case number (If known)
             Name



      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          VARIOUS OFFICE EQUIPMENT AND
          FIXTURES
          MACHINERY
          TWO ROBOTS                                                                      $0.00     Liquidation                        $100,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                            $100,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 2
               Case 23-31472               Doc 1        Filed 07/26/23 Entered 07/26/23 18:03:02                           Desc Main
                                                         Document     Page 10 of 52
Debtor        DURABOTICS, INC.                                                             Case number (If known)
              Name



Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used     Current value of
                                                                        debtor's interest          for current value         debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           WWW.DURABOTICS.COM                                                      Unknown                                              Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                               $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 3
                 Case 23-31472                       Doc 1           Filed 07/26/23 Entered 07/26/23 18:03:02                                         Desc Main
                                                                      Document     Page 11 of 52
Debtor          DURABOTICS, INC.                                                                                    Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                          $200.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                        $100,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $100,200.00           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $100,200.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
                Case 23-31472                    Doc 1       Filed 07/26/23 Entered 07/26/23 18:03:02                                Desc Main
                                                              Document     Page 12 of 52
Fill in this information to identify the case:

Debtor name         DURABOTICS, INC.

United States Bankruptcy Court for the:           DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   ALERUS FINANCIAL                             Describe debtor's property that is subject to a lien                     Unknown                       $0.00
      Creditor's Name                              ALL ASSETS
      PO BOX 6001
      Grand Forks, ND 58206
      Creditor's mailing address                   Describe the lien
                                                   UCC-1 FINANCING STATEMENT
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   ATIPANA CAPITAL LLC                          Describe debtor's property that is subject to a lien                     Unknown                       $0.00
      Creditor's Name                              ACCOUNTS RECEIVABLE
      43 W 23RD ST 2ND FLOOR
      New York, NY 10010
      Creditor's mailing address                   Describe the lien
                                                   UCC-1 FINANCING STATEMENT
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      01/03/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
                Case 23-31472                    Doc 1      Filed 07/26/23 Entered 07/26/23 18:03:02                                Desc Main
                                                             Document     Page 13 of 52
Debtor      DURABOTICS, INC.                                                                      Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      CHANNEL PARTNERS
2.3                                                                                                                        $151,619.00          $0.00
      CAPITAL LLC                                 Describe debtor's property that is subject to a lien
      Creditor's Name                             ALL ASSETS
      408 E MAIN ST BLD 300
      STE 1
      Marshall, MN 56258
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 FINANCING STATEMENT
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      08/03/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   LUMINATE BANK                               Describe debtor's property that is subject to a lien                 $2,000,000.00        Unknown
      Creditor's Name                             BLANKET LIEN - ALL ASSETS
      5900 GREEN OAK DR.
      SUITE 100
      MINNETONKA, MN 55343
      Creditor's mailing address                  Describe the lien
                                                  UCC FINANCING STATEMENT
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/14/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      TIM HEDLUND AND JACK
2.5                                                                                                                         $55,694.81    $100,000.00
      RUTH                                        Describe debtor's property that is subject to a lien
      Creditor's Name                             VARIOUS OFFICE EQUIPMENT AND
                                                  FIXTURES
                                                  MACHINERY
      13250 KERRY LANE                            TWO ROBOTS
      Eden Prairie, MN 55346
      Creditor's mailing address                  Describe the lien


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 3
                 Case 23-31472                    Doc 1      Filed 07/26/23 Entered 07/26/23 18:03:02                                 Desc Main
                                                              Document     Page 14 of 52
Debtor       DURABOTICS, INC.                                                                      Case number (if known)
             Name

                                                   UCC-1 FINANCING STATEMENT
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       05/23/2019                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       US SMALL BUSINESS
2.6                                                                                                                         $150,000.00              Unknown
       ADMINISTRATION                              Describe debtor's property that is subject to a lien
       Creditor's Name                             BLANKET LIEN
       ATTN DEFAULTS
       2 NORTH ST STE 320
       Birmingham, AL 35203
       Creditor's mailing address                  Describe the lien
                                                   UCC-1 FINANCING STATEMENT
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       07/05/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $2,357,313.8
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       1

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        TROY C KEPLER ESQ
        408 E MAIN ST BLD 300 STE 1                                                                          Line   2.3
        Marshall, MN 56258

        WINTHROP AND WEINSTINE
        CYNTHIA HEGARTY ESQ                                                                                  Line   2.4
        225 SOUTH SIXTH ST STE 3500
        Minneapolis, MN 55402




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
                Case 23-31472                 Doc 1         Filed 07/26/23 Entered 07/26/23 18:03:02                                     Desc Main
                                                             Document     Page 15 of 52
Fill in this information to identify the case:

Debtor name        DURABOTICS, INC.

United States Bankruptcy Court for the:         DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,692.31         $1,692.31
          ANDREW FINNEGAN                                     Check all that apply.
          726 BRIDLE RIDGE ROAD                                  Contingent
          EAGAN, MN 55123                                        Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              PRIORITY CLAIM (UNPAID PAID TIME OFF)
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,846.15         $1,846.15
          ANDREW VALL                                         Check all that apply.
          14725 BURNELL PARK DRIVE                               Contingent
          Burnsville, MN 55306                                   Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              PRIORITY CLAIM (UNPAID PAID TIME OFF)
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 14
                                                                                                              29617
               Case 23-31472                 Doc 1        Filed 07/26/23 Entered 07/26/23 18:03:02                            Desc Main
                                                           Document     Page 16 of 52
Debtor      DURABOTICS, INC.                                                                         Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00    $0.00
         CHRISTINA THORNER                                  Check all that apply.
         14809 OAKWOOD DRIVE                                   Contingent
         Burnsville, MN 55306                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            PRIORITY CLAIM (BELIEVED TO BE ZERO)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,550.00   $1,550.00
         COLBY CHASE                                        Check all that apply.
         7525 POLK AVENUE                                      Contingent
         Waconia, MN 55387                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            PRIORITY CLAIM (UNPAID PAID TIME OFF)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,200.00   $1,200.00
         DAVID HER                                          Check all that apply.
         8614 GREENE AVENUE S.                                 Contingent
         Cottage Grove, MN 55016                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            PRIORITY CLAIM (UNPAID PAID TIME OFF)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,115.38   $2,115.38
         ERIK PETERMAN                                      Check all that apply.
         13813 FINDLAY AVENUE                                  Contingent
         APPLE VALLEY, MN 55124                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            PRIORITY CLAIM (UNPAID PAID TIME OFF)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 2 of 14
               Case 23-31472                 Doc 1        Filed 07/26/23 Entered 07/26/23 18:03:02                            Desc Main
                                                           Document     Page 17 of 52
Debtor      DURABOTICS, INC.                                                                         Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00    $0.00
         IRS                                                Check all that apply.
         PO BOX 7346                                           Contingent
         Philadelphia, PA 19101-7346                           Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            PRIORITY TAXES
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00    $0.00
         JOHN OCHS                                          Check all that apply.
         1160 TOWN CENTRE DR. APT 4                            Contingent
         EAGAN, MN 55123                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            PRIORITY CLAIM (BELIEVED TO BE ZERO)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,153.85   $1,153.85
         JUSTIN BERG                                        Check all that apply.
         126 21ST AVE. N                                       Contingent
         South Saint Paul, MN 55075                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            PRIORITY CLAIM (UNPAID PAID TIME OFF)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,365.79   $1,365.79
         LANG THAO                                          Check all that apply.
         1238 JESSIE STREET                                    Contingent
         Saint Paul, MN 55130                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            PRIORITY CLAIM (UNPAID PAID TIME OFF)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 3 of 14
               Case 23-31472                 Doc 1        Filed 07/26/23 Entered 07/26/23 18:03:02                            Desc Main
                                                           Document     Page 18 of 52
Debtor      DURABOTICS, INC.                                                                         Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,120.95   $1,120.95
         LORI THOMPSON                                      Check all that apply.
         1005 TRILLIUM COURT                                   Contingent
         EAGAN, MN 55123                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            PRIORITY CLAIM (UNPAID PAID TIME OFF)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00    $0.00
         MINNESOTA DEPT OF REV                              Check all that apply.
         COLLECTION DIVISION                                   Contingent
         PO BOX 64564                                          Unliquidated
         Saint Paul, MN 55164-0564                             Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            PRIORITY TAXES
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,272.00   $1,272.00
         RYAN DARST                                         Check all that apply.
         454 7TH AVENUE SOUTH                                  Contingent
         South Saint Paul, MN 55075                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            PRIORITY CLAIM (UNPAID PAID TIME OFF)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,692.31   $2,692.31
         THEAN ANG                                          Check all that apply.
         3172 NORTH VIEW LANE                                  Contingent
         WOODBURY, MN 55125                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            PRIORITY CLAIM (UNPAID PAID TIME OFF)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 4 of 14
                 Case 23-31472                 Doc 1          Filed 07/26/23 Entered 07/26/23 18:03:02                                              Desc Main
                                                               Document     Page 19 of 52
Debtor        DURABOTICS, INC.                                                                           Case number (if known)
              Name

2.15       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $956.33   $956.33
           TOM ALESSI                                           Check all that apply.
           1706 PIERCE ST. NE                                      Contingent
           Minneapolis, MN 55413                                   Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                PRIORITY CLAIM (UNPAID PAID TIME OFF)
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $53,832.03
          AMERICAN EXPRESS                                                        Contingent
          PO BOX 981535                                                           Unliquidated
          El Paso, TX 79998-1535                                                  Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: UNSECURED
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                  $405.00
          AUTOMATION DIRECT                                                       Contingent
          3505 HUTCHINSON RD.                                                     Unliquidated
          Cumming, GA 30040                                                       Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: UNSECURED
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $17,312.30
          AUTOMATION, INC                                                         Contingent
          4830 AZELIA AVE N                                                       Unliquidated
          Minneapolis, MN 55429                                                   Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: UNSECURED
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                     $0.00
          BRECOFLEX CO, LLC                                                       Contingent
          222 INDUSTRIAL WAY WEST                                                 Unliquidated
          Eatontown, NJ 07724                                                     Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: UNSECURED
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          BYRON JOST                                                              Contingent
          4151 BOONE AVE. N #101                                                  Unliquidated
          Minneapolis, MN 55427                                                   Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: UNSECURED
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 14
               Case 23-31472               Doc 1       Filed 07/26/23 Entered 07/26/23 18:03:02                                          Desc Main
                                                        Document     Page 20 of 52
Debtor      DURABOTICS, INC.                                                                Case number (if known)
            Name

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,000.00
         C.H. ROBINSON COMPANY                                        Contingent
         PO BOX 9121                                                  Unliquidated
         Minneapolis, MN 55480-9121                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $56,739.00
         CHOICE BAGGING EQUIPMENT                                     Contingent
         4804 NORTH MAIN ST.                                          Unliquidated
         Taylor, TX 76574                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $9,405.00
         CMSI TECHNOLOGIES                                            Contingent
         11733 95H AVE. N                                             Unliquidated
         MAPLE GROVE, MN 55369                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $156.31
         COMCAST                                                      Contingent
         CUSTOMER SERVICE DEPT                                        Unliquidated
         1500 MARKET ST                                               Disputed
         Philadelphia, PA 19102
                                                                   Basis for the claim: UNSECURED
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $17,554.50
         CONVEYOR SOLUTIONS                                           Contingent
         5201 EDEN AVE. SUITE 300                                     Unliquidated
         Minneapolis, MN 55436                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,597.86
         CROWN PLASTICS                                               Contingent
         12615 16TH AVE N.                                            Unliquidated
         PLYMOUTH, MN 55441                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $75,000.00
         DUKE SECURED FINANCING - UNM, LLC                            Contingent
         75 REMITTANCE DR. SUITE 3205                                 Unliquidated
         Chicago, IL 60675                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: FORMER LANDLORD
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 14
               Case 23-31472               Doc 1       Filed 07/26/23 Entered 07/26/23 18:03:02                                          Desc Main
                                                        Document     Page 21 of 52
Debtor      DURABOTICS, INC.                                                                Case number (if known)
            Name

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $36,250.00
         EGAN COMPANY                                                 Contingent
         PO BOX 1150-27                                               Unliquidated
         Minneapolis, MN 55480                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $50,000.00
         EVOLVE SYSTEMS                                               Contingent
         2974 RICE ST.                                                Unliquidated
         Saint Paul, MN 55113                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $65,018.80
         FANCU AMERICA CORP                                           Contingent
         3900 WEST HAMLIN RD.                                         Unliquidated
         Rochester, MI 48309                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,000.00
         FREIGHTQUOTE.COM                                             Contingent
         901 CARONDELET DRIVE WEST                                    Unliquidated
         Kansas City, MO 64114                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,058.21
         HEALTH PARTNERS CLINIC                                       Contingent
         PO BOX 77026                                                 Unliquidated
         Minneapolis, MN 55480-7726                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12,354.00
         HUBS - A PORTABLE COMPANY                                    Contingent
         3D HUBS MANUFACTURING LLC                                    Unliquidated
         DEPT CH 17597                                                Disputed
         Palatine, IL 60055
                                                                   Basis for the claim: UNSECURED
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $522.20
         INDUSTRIAL KINETICS, INC                                     Contingent
         2535 CURTIS ST.                                              Unliquidated
         Downers Grove, IL 60515                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 7 of 14
               Case 23-31472               Doc 1       Filed 07/26/23 Entered 07/26/23 18:03:02                                          Desc Main
                                                        Document     Page 22 of 52
Debtor      DURABOTICS, INC.                                                                Case number (if known)
            Name

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,893.99
         JACK RUTH                                                    Contingent
         13750 FLAGSTAFF AVE                                          Unliquidated
         APPLE VALLEY, MN 55124                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,000.00
         JOHN DUR FINANCIAL CONSULTING LLC                            Contingent
         132 BAYCREST COURT #132                                      Unliquidated
         Newport Beach, CA 92660                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $29,597.48
         JOULIN                                                       Contingent
         2551 US HWY 70 SW                                            Unliquidated
         Hickory, NC 28602                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,521.43
         JUSTIN OOI
         OOI YU CHEN A-5-2, TROPICANA BAY                             Contingent
         RESIDEN                                                      Unliquidated
         PERSIARAN BAYAN INDAH                                        Disputed
         PENANG, MALAYSIA 11900
                                                                   Basis for the claim: UNSECURED
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,000.00
         KEVIN P. SMITH                                               Contingent
         3250 W 66TH ST. #242                                         Unliquidated
         EDINA, MN 55435                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,800.00
         KEYENCE CORP OF AMERICA                                      Contingent
         DEPT CH 17128                                                Unliquidated
         Palatine, IL 60055                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,688.49
         LEGEND ADVANCE FUNDING II LLC                                Contingent
         800 BRICKELL AVE SUITE 902                                   Unliquidated
         Miami, FL 33131                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 8 of 14
               Case 23-31472               Doc 1       Filed 07/26/23 Entered 07/26/23 18:03:02                                          Desc Main
                                                        Document     Page 23 of 52
Debtor      DURABOTICS, INC.                                                                Case number (if known)
            Name

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,179.19
         LLM PUBLICATIONS                                             Contingent
         PO BOX 25120                                                 Unliquidated
         Portland, OR 97298                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,548.00
         MACKUBIN AUTOMATION                                          Contingent
         2491 15TH ST. NW                                             Unliquidated
         NEW BRIGHTON, MN 55112                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,414.25
         METROPOLITAN MECHANICAL                                      Contingent
         CONTRACTORS INC                                              Unliquidated
         121 S 8TH ST. SUITE 203                                      Disputed
         Minneapolis, MN 55402
                                                                   Basis for the claim: UNSECURED
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $812.00
         MIDWEST CRATING UNLIMITED                                    Contingent
         6805 20TH AVE. SOUTH SUITE 100                               Unliquidated
         CENTERVILLE, MN 55038                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         MILLIBAR                                                     Contingent
         122 SOUTH STREET REAR                                        Unliquidated
         Hopkinton, MA 01748                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,145.00
         MILLWOOD METALWORKS, INC                                     Contingent
         315 INDUSTRIAL                                               Unliquidated
         PO BOX 339                                                   Disputed
         Freeport, MN 56331
                                                                   Basis for the claim: UNSECURED
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,000.00
         MMC CONTROLS                                                 Contingent
         7450 FLYING CLOUD DRIVE                                      Unliquidated
         Eden Prairie, MN 55344                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 9 of 14
               Case 23-31472               Doc 1       Filed 07/26/23 Entered 07/26/23 18:03:02                                          Desc Main
                                                        Document     Page 24 of 52
Debtor      DURABOTICS, INC.                                                                Case number (if known)
            Name

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         NCS CREDIT                                                   Contingent
         PO BOX 24101                                                 Unliquidated
         Cleveland, OH 44124                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: COLLECTION
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $8,984.97
         NORDSON CORPORATION                                          Contingent
         PO BOX 802586                                                Unliquidated
         Chicago, IL 60680                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $17,597.64
         NORTHAMCON, LLC                                              Contingent
         PO BOX 454                                                   Unliquidated
         Alpena, MI 49707                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         PACIFIC RESOURCES GROUP                                      Contingent
         151 KALMUS DRIVE STE C-225                                   Unliquidated
         Costa Mesa, CA 92626                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: COLLECTION - MARTINEZ LAW
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $146.36
         PEPPERL+FUCHS                                                Contingent
         1600 ENTERPRISE PARKWAY                                      Unliquidated
         Twinsburg, OH 44087                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,550.98
         POWERNATION                                                  Contingent
         PO BOX 860314                                                Unliquidated
         Minneapolis, MN 55486                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $30,818.67
         PROLOGIS, LP                                                 Contingent
         1800 WAZEE ST. SUITE 500                                     Unliquidated
         Denver, CO 80202                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 10 of 14
               Case 23-31472               Doc 1       Filed 07/26/23 Entered 07/26/23 18:03:02                                          Desc Main
                                                        Document     Page 25 of 52
Debtor      DURABOTICS, INC.                                                                Case number (if known)
            Name

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,530.76
         QUALITY CONVEYORS                                            Contingent
         550 SPRIAL BLVD                                              Unliquidated
         Hastings, MN 55033                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         RON JOST                                                     Contingent
         652 136TH LN. NE                                             Unliquidated
         HAM LAKE, MN 55304                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $168,910.00
         SNO PAC FOODS INC                                            Contingent
         521 W ENTERPRISE DR                                          Unliquidated
         Caledonia, MN 55921                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12,004.20
         STAUBIL CORPORATION - ROBOTICS                               Contingent
         DIVISION                                                     Unliquidated
         PO BOX 189                                                   Disputed
         Duncan, SC 29334
                                                                   Basis for the claim: UNSECURED
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $49,433.00
         TIGHE KRESS AND ORR CPAS                                     Contingent
         ATTN ACCOUNTS RECEIVALBE                                     Unliquidated
         2205 POINT BLVD STE 100                                      Disputed
         Elgin, IL 60123
                                                                   Basis for the claim: UNSECURED
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $24,467.65
         TIM HEDLUND                                                  Contingent
         13250 KERRY LANE                                             Unliquidated
         Eden Prairie, MN 55346                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $595.97
         TRIANGLE WAREHOUSE                                           Contingent
         PO BOX 581669                                                Unliquidated
         Minneapolis, MN 55458                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 11 of 14
               Case 23-31472               Doc 1       Filed 07/26/23 Entered 07/26/23 18:03:02                                          Desc Main
                                                        Document     Page 26 of 52
Debtor      DURABOTICS, INC.                                                                Case number (if known)
            Name

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,742.64
         US BANK EQUIPMENT FINANCE                                    Contingent
         1310 MADRID ST                                               Unliquidated
         Marshall, MN 56258                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,465.00
         US SMALL BUSINESS ADMIN                                      Contingent
         MINNESOTA DISTRICT OFFICE                                    Unliquidated
         330 2nd AVE S STE 430                                        Disputed
         Minneapolis, MN 55401-2224
                                                                   Basis for the claim: UNSECURED
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,757.65
         VAN METER                                                    Contingent
         7450 95TH ST. S                                              Unliquidated
         Cottage Grove, MN 55016                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         VIRTUS LAW PLLC                                              Contingent
         ATTN: TIM FAFINSKI                                           Unliquidated
         7040 LAKELAND AVE. SUITE 100                                 Disputed
         Minneapolis, MN 55428
                                                                   Basis for the claim: NOTICE
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $446.55
         WELLS FARGO COORDINATED BUSINESS                             Contingent
         PO BOX 10306                                                 Unliquidated
         Des Moines, IA 50306                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECUREED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         WERNER ELECTRIC                                              Contingent
         1000 24TH AVE NW                                             Unliquidated
         Owatonna, MN 55060-1069                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: UNSECURED
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $472.00
         XCEL ENERGY                                                  Contingent
         BANKRUPTCY DEPT                                              Unliquidated
         PO BOX 9477                                                  Disputed
         Minneapolis, MN 55484
                                                                   Basis for the claim: UNSECURED
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 12 of 14
               Case 23-31472                  Doc 1         Filed 07/26/23 Entered 07/26/23 18:03:02                                             Desc Main
                                                             Document     Page 27 of 52
Debtor       DURABOTICS, INC.                                                                       Case number (if known)
             Name

3.55      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,526.80
          XOMETRY                                                              Contingent
          PO BOX 735303                                                        Unliquidated
          Dallas, TX 75373                                                     Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: UNSECURED
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.56      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $37,474.85
          YNS FUNDING LLC                                                      Contingent
          99 WALL STREET STE 2497                                              Unliquidated
          New York, NY 10005                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: UNSECURED
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.57      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $12,200.00
          ZETAGROUP                                                            Contingent
          501 COUNTY RD. U                                                     Unliquidated
          Wrightstown, WI 54180                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: UNSECURED
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.58      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          ZZZ ADJUSTMENT                                                       Contingent
                                                                               Unliquidated
          Date(s) debt was incurred                                            Disputed
          Last 4 digits of account number                                  Basis for the claim: UNSECURED

                                                                           Is the claim subject to offset?      No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any
4.1       ESP RECEIVABLES MANAGMENT INC
          PO BOX 1547                                                                               Line     3.36
          Mandeville, LA 70470
                                                                                                           Not listed. Explain

4.2       LAW OFFICES OF ISAAC H GREENFIELD PLLC
          ATTN ISSAC H GREENFIELD ESQ                                                               Line     3.56
          2 EXECUTIVE BLVD STE 305
                                                                                                           Not listed. Explain
          Suffern, NY 10901

4.3       MARTINEZ LAW PA
          CHRIS MARTINEZ ESQ                                                                        Line     3.26
          2525 PONCE DE LEON BLVD STE 300
                                                                                                           Not listed. Explain
          CORAL GABLES, FL 33134

4.4       TAFT STETTINUS & HOLLISTER LLP
          ATTN PATRICK J LINDMARK                                                                   Line     3.12
          80 SOUTH EIGHT ST STE 2000
                                                                                                           Not listed. Explain
          Minneapolis, MN 55402



Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 13 of 14
               Case 23-31472              Doc 1        Filed 07/26/23 Entered 07/26/23 18:03:02                                  Desc Main
                                                        Document     Page 28 of 52
Debtor      DURABOTICS, INC.                                                            Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.5       TIMOTHY W FAFINSKI
          CORPORATE COUNSEL PA                                                         Line     3.16
          3411 BREI KESSEL RD
                                                                                              Not listed. Explain
          INDEPENDENCE, MN 55359


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                     16,965.07
5b. Total claims from Part 2                                                              5b.    +     $                    869,932.73

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                      886,897.80




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 14 of 14
              Case 23-31472               Doc 1        Filed 07/26/23 Entered 07/26/23 18:03:02                                Desc Main
                                                        Document     Page 29 of 52
Fill in this information to identify the case:

Debtor name       DURABOTICS, INC.

United States Bankruptcy Court for the:     DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            (1) RAISE 3D PRO3
           lease is for and the nature of        PLUS CNC 3D PRINTER
           the debtor's interest                 TOOLING TOOLING
                                                 TOGETHER WITH ALL
                                                 REPLACEMENTS,
                                                 PARTS,
                                                 REPAIRS, ADDITIONS,
                                                 ACCESSIONS AND
                                                 ACCESSORIES
                                                 INCORPORATED
                                                 THEREIN OR AFFIXED
                                                 OR
                                                 ATTACHED THERETO
                                                 AND ANY AND ALL
                                                 PROCEEDS OF THE
                                                 FOREGOING,
                                                 INCLUDING, WITHOUT
                                                 LIMITATION,
                                                 INSURANCE
                                                 RECOVERIES AND (2)
                                                 FANUC ROBODRILL
                                                 A-D21MIB5 WITH
                                                 CONTROL AND
                                                 WELDER
               State the term remaining
                                                                                    US BANK EQUIPMENT FINANCE
           List the contract number of any                                          1310 MADRID ST
                 government contract                                                Marshall, MN 56258




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
              Case 23-31472               Doc 1      Filed 07/26/23 Entered 07/26/23 18:03:02                             Desc Main
                                                      Document     Page 30 of 52
Fill in this information to identify the case:

Debtor name      DURABOTICS, INC.

United States Bankruptcy Court for the:    DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
               Case 23-31472              Doc 1       Filed 07/26/23 Entered 07/26/23 18:03:02                                Desc Main
                                                       Document     Page 31 of 52



Fill in this information to identify the case:

Debtor name         DURABOTICS, INC.

United States Bankruptcy Court for the:    DISTRICT OF MINNESOTA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $237,000.00
      From 1/01/2023 to Filing Date
                                                                                          Other    GROSS REVENUE


      For prior year:                                                                     Operating a business                             $2,000,807.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other    GROSS REVENUE


      For year before that:                                                               Operating a business                             $1,765,074.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other    GROSS REVENUE

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                           IRS REFUND - EMPLOYEE
      From 1/01/2023 to Filing Date                                                   RETENTION CREDIT                                       $359,422.04


Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
                 Case 23-31472            Doc 1         Filed 07/26/23 Entered 07/26/23 18:03:02                                   Desc Main
                                                         Document     Page 32 of 52
Debtor       DURABOTICS, INC.                                                                   Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             JACK RUTH                                             JULY 21,                         $68,066.45                Secured debt
             13750 FLAGSTAFF AVE                                   2023                                                       Unsecured loan repayments
             APPLE VALLEY, MN 55124
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.2.
             TIM HEDLUND                                           JULY 21,                        $112,723.03                Secured debt
             13250 KERRY LANE                                      2023                                                       Unsecured loan repayments
             Eden Prairie, MN 55346                                                                                           Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.3.
             FORMER EMPLOYEES                                      JULY 5 & 6,                     $154,509.52                Secured debt
                                                                   2023                                                       Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other PAST DUE PAYROLL


      3.4.
             IRS                                                   VARIOUS                            Unknown                 Secured debt
             PO BOX 7346                                           DATES                                                      Unsecured loan repayments
             Philadelphia, PA 19101-7346                                                                                      Suppliers or vendors
                                                                                                                              Services
                                                                                                                           Other REMITTANCE OF
                                                                                                                         PAYROLL TAXES


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
                 Case 23-31472           Doc 1        Filed 07/26/23 Entered 07/26/23 18:03:02                                Desc Main
                                                       Document     Page 33 of 52
Debtor       DURABOTICS, INC.                                                                  Case number (if known)




7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                               Nature of case              Court or agency's name and            Status of case
             Case number                                                          address
      7.1.   EBF HOLDINGS LLC DBA                     BREACH OF                   SUPREME COURT OF THE                        Pending
             EVEREST BUSINESS                         CONTRACT ET AL              STATE OF NEW YORK                           On appeal
             FUNDING V. DURABOTICS                                                COUNTY OF MONROE
                                                                                                                              Concluded
             INC AND RONALD JOST


      7.2.   CHANNEL PARTNERS                         BREACH OF                   STATE OF MINNESOTA                          Pending
             CAPITAL LLC VS.                          CONTRACT ET AL              LYON COUNTY                                 On appeal
             DURABOTICS INC. AND
                                                                                                                              Concluded
             RONALD JOST


      7.3.   YNS FUNDING LLC V.                       BREACH OF                   SUPREME COURT OF TEH                        Pending
             DURABOTICS INC AND                       CONTRACT ET AL              STATE OF NEW YORK                           On appeal
             RONALD JOST                                                          COUNTY OF NASSAU
                                                                                                                              Concluded

      7.4.   LEGEND ADVANCE FUNDING                   BREACH OF                   CIRCUIT COURT -                             Pending
             II LLC V. DURABOTICS INC                 CONTRACT ET AL              ELEVENTH JUDICIAL                           On appeal
             AND RON JOST                                                         CIRCUI
                                                                                                                              Concluded
             2023-010859-CA-01                                                    MIAMI-DADE COUNTY,
                                                                                  FLORIDIA

      7.5.   BANK GARNISHMENT -                                                                                               Pending
             INFORMATION TO BE                                                                                                On appeal
             PROVIDED TO THE TRUSTEE                                                                                          Concluded
             - AMOUNT TAKEN: $23,114.71
             ON JUNE 14, 2023


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address             Description of the gifts or contributions                 Dates given                          Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
                Case 23-31472             Doc 1        Filed 07/26/23 Entered 07/26/23 18:03:02                                   Desc Main
                                                        Document     Page 34 of 52
Debtor        DURABOTICS, INC.                                                                    Case number (if known)



      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.                                              ATTORNEY FEES AND COURT COSTS TO
               LAMEY LAW FIRM, P.A.                      PREPARE BANKRUPTCY AND                                        MARCH
               980 INWOOD AVE N                          POST-FILING WORK (AND PRE-FILING                              2023 AND
               OAKDALE, MN 55128-7094                    REPRESENTATION)                                               JUNE 2023                  $8,000.00

               Email or website address
               JLAMEY@LAMEYLAW.COM

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value
      13.1 MEREEN JOHNSON
      .    5201 EAST RIVER ROAD STE
              301                                      SOLD VARIOUS LAPTOPS AND
              Minneapolis, MN 55421                    EQUIPMENT                                                  APRIL 2023                      $6,500.00

              Relationship to debtor
              NONE.


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
                Case 23-31472              Doc 1        Filed 07/26/23 Entered 07/26/23 18:03:02                               Desc Main
                                                         Document     Page 35 of 52
Debtor        DURABOTICS, INC.                                                                   Case number (if known)




          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services             If debtor provides meals
                                                       the debtor provides                                                      and housing, number of
                                                                                                                                patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was              Last balance
              Address                                  account number              instrument                  closed, sold,             before closing or
                                                                                                               moved, or                          transfer
                                                                                                               transferred
      18.1.     LUMINATE BANK                          XXXX-3312                      Checking                 MAY 31, 2023                          $0.00
                5900 GREEN OAK DR. SUITE                                              Savings
                100
                                                                                      Money Market
                MINNETONKA, MN 55343
                                                                                      Brokerage
                                                                                      Other

      18.2.     BANK OF AMERICA                        XXXX-7808                      Checking                 JULY 26, 2023                         $0.00
                PO BOX 982284                                                         Savings
                El Paso, TX 79998-2284
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 5
                Case 23-31472              Doc 1        Filed 07/26/23 Entered 07/26/23 18:03:02                                  Desc Main
                                                         Document     Page 36 of 52
Debtor        DURABOTICS, INC.                                                                   Case number (if known)



               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.3.    US BANK                                  XXXX-0478                     Checking                 JULY 26, 2023                              $0.00
               BANKRUPTCY/RECOVERY                                                    Savings
               DEPARTMENT
                                                                                      Money Market
               PO BOX 5229
                                                                                      Brokerage
               Cincinnati, OH 45201
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 6
                Case 23-31472             Doc 1         Filed 07/26/23 Entered 07/26/23 18:03:02                                   Desc Main
                                                         Document     Page 37 of 52
Debtor      DURABOTICS, INC.                                                                    Case number (if known)



           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        ROBERT B LEWIS CPA                                                                                                 LAST 2+ YEARS
                    6500 STAUDER CIRCLE
                    EDINA, MN 55436

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 7
               Case 23-31472             Doc 1         Filed 07/26/23 Entered 07/26/23 18:03:02                               Desc Main
                                                        Document     Page 38 of 52
Debtor      DURABOTICS, INC.                                                                   Case number (if known)



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      JACK RUTH                              13750 FLAGSTAFF AVE                                 PRESIDENT                               19.00%
                                             EAGAN, MN 55124

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      TIMOTHY HEDLUND                        13250 KERRY LANE                                    VICE PRESIDENT (RESIGNED                13.5%
                                             EDEN PRAIRIE, MN 55346                              FROM OFFICER POSITION
                                                                                                 SPRING 2023)
      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      RONALD JOST                            652 136TH LANE NE                                   CEO                                     55.00%
                                             Andover, MN 55304

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      JUDITH RUTH                            13750 FLAGSTAFF AVE                                 NONE.                                   12.50%
                                             Saint Paul, MN 55124



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 8
               Case 23-31472              Doc 1        Filed 07/26/23 Entered 07/26/23 18:03:02                          Desc Main
                                                        Document     Page 39 of 52
Debtor      DURABOTICS, INC.                                                                    Case number (if known)



     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         July 26, 2023

/s/ RONALD F. JOST                                              RONALD F. JOST
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   PRESIDENT

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                 page 9
               Case 23-31472                 Doc 1         Filed 07/26/23 Entered 07/26/23 18:03:02                        Desc Main
                                                            Document     Page 40 of 52
LOCAL FORM 1007-1
REVISED 06/16
                                                        United States Bankruptcy Court
                                                                     District of Minnesota
 In re      DURABOTICS, INC.                                                                                Case No.
                                                                                   Debtor(s)                Chapter    7


                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named
debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the
bankruptcy case is as follows:

For legal Services, I have agreed to accept ............................                     $   7,662.00
Prior to the filing of this statement I have received                     ..............     $   7,662.00
Balance Due ............................................................................     $   0.00


2.   The source of the compensation paid to me was:
           Debtor                               Other (specify)

3.   The source of the compensation to be paid to me is:
           Debtor                                 Other (specify)

4.      I have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law firm.

        I have agreed to share the above-disclosed compensation with another person or persons who are not members or
associates of my law firm. A copy of the agreement, together with a list of the names of the people or entities sharing in
the compensation, is attached.

5.    In return for the above-disclosed fee, together with such further fee, if any, as is provided in the written contract
required by 11 U.S.C. §528(a)(1), I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a.. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
         petition in bankruptcy;

         b.. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

         c.. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
         thereof;

         d.. Representation of the debtor in contested bankruptcy matters; and

         e.. Other services reasonably necessary to represent the debtor(s).

6. Pursuant to Local Rules 1007-1 and 1007-3-1, I have advised the debtor of the requirements in the Statement of
Financial Affairs to disclose all payments made, or property transferred, by or on behalf of the debtor to any person,
including attorneys, for consultation concerning debt consolidation or reorganization, relief under bankruptcy law, or
preparation of a petition in bankruptcy. I have reviewed the debtor's disclosures and they are accurate and complete to the
best of my knowledge.




                                                                               Page 1 of 2
           Case 23-31472        Doc 1     Filed 07/26/23 Entered 07/26/23 18:03:02               Desc Main
                                           Document     Page 41 of 52
LOCAL FORM 1007-1
REVISED 06/16
                                                   CERTIFICATION

       I certify that the foregoing, together with the written contract required by 11 U.S.C. §528(a)(1), is a complete
statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy case.

Dated: July 26, 2023                                       Signature of Attorney
                                                           /s/ JOHN D. LAMEY III
                                                           JOHN D. LAMEY III 0312009




                                                         Page2 of 2
            Case 23-31472           Doc 1       Filed 07/26/23 Entered 07/26/23 18:03:02                       Desc Main
                                                 Document     Page 42 of 52




                                              United States Bankruptcy Court
                                                        District of Minnesota
 In re   DURABOTICS, INC.                                                                      Case No.
                                                                   Debtor(s)                   Chapter     7




                                  VERIFICATION OF CREDITOR MATRIX


I, the PRESIDENT of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:    July 26, 2023                                 /s/ RONALD F. JOST
                                                       RONALD F. JOST/PRESIDENT
                                                       Signer/Title
    Case 23-31472   Doc 1   Filed 07/26/23 Entered 07/26/23 18:03:02   Desc Main
                             Document     Page 43 of 52


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                      ALERUS FINANCIAL
                      PO BOX 6001
                      GRAND FORKS ND 58206



                      AMERICAN EXPRESS
                      PO BOX 981535
                      EL PASO TX 79998-1535



                      ANDREW FINNEGAN
                      726 BRIDLE RIDGE ROAD
                      EAGAN MN 55123



                      ANDREW VALL
                      14725 BURNELL PARK DRIVE
                      BURNSVILLE MN 55306



                      ATIPANA CAPITAL LLC
                      43 W 23RD ST 2ND FLOOR
                      NEW YORK NY 10010



                      AUTOMATION DIRECT
                      3505 HUTCHINSON RD.
                      CUMMING GA 30040



                      AUTOMATION, INC
                      4830 AZELIA AVE N
                      MINNEAPOLIS MN 55429



                      BRECOFLEX CO, LLC
                      222 INDUSTRIAL WAY WEST
                      EATONTOWN NJ 07724



                      BYRON JOST
                      4151 BOONE AVE. N #101
                      MINNEAPOLIS MN 55427
Case 23-31472   Doc 1   Filed 07/26/23 Entered 07/26/23 18:03:02   Desc Main
                         Document     Page 44 of 52



                  C.H. ROBINSON COMPANY
                  PO BOX 9121
                  MINNEAPOLIS MN 55480-9121



                  CHANNEL PARTNERS CAPITAL LLC
                  408 E MAIN ST BLD 300 STE 1
                  MARSHALL MN 56258



                  CHOICE BAGGING EQUIPMENT
                  4804 NORTH MAIN ST.
                  TAYLOR TX 76574



                  CHRISTINA THORNER
                  14809 OAKWOOD DRIVE
                  BURNSVILLE MN 55306



                  CMSI TECHNOLOGIES
                  11733 95H AVE. N
                  MAPLE GROVE MN 55369



                  COLBY CHASE
                  7525 POLK AVENUE
                  WACONIA MN 55387



                  COMCAST
                  CUSTOMER SERVICE DEPT
                  1500 MARKET ST
                  PHILADELPHIA PA 19102



                  CONVEYOR SOLUTIONS
                  5201 EDEN AVE. SUITE 300
                  MINNEAPOLIS MN 55436



                  CROWN PLASTICS
                  12615 16TH AVE N.
                  PLYMOUTH MN 55441
Case 23-31472   Doc 1   Filed 07/26/23 Entered 07/26/23 18:03:02   Desc Main
                         Document     Page 45 of 52



                  DAVID HER
                  8614 GREENE AVENUE S.
                  COTTAGE GROVE MN 55016



                  DUKE SECURED FINANCING - UNM, LLC
                  75 REMITTANCE DR. SUITE 3205
                  CHICAGO IL 60675



                  EGAN COMPANY
                  PO BOX 1150-27
                  MINNEAPOLIS MN 55480



                  ERIK PETERMAN
                  13813 FINDLAY AVENUE
                  APPLE VALLEY MN 55124



                  ESP RECEIVABLES MANAGMENT INC
                  PO BOX 1547
                  MANDEVILLE LA 70470



                  EVOLVE SYSTEMS
                  2974 RICE ST.
                  SAINT PAUL MN 55113



                  FANCU AMERICA CORP
                  3900 WEST HAMLIN RD.
                  ROCHESTER MI 48309



                  FREIGHTQUOTE.COM
                  901 CARONDELET DRIVE WEST
                  KANSAS CITY MO 64114



                  HEALTH PARTNERS CLINIC
                  PO BOX 77026
                  MINNEAPOLIS MN 55480-7726
Case 23-31472   Doc 1   Filed 07/26/23 Entered 07/26/23 18:03:02   Desc Main
                         Document     Page 46 of 52



                  HUBS - A PORTABLE COMPANY
                  3D HUBS MANUFACTURING LLC
                  DEPT CH 17597
                  PALATINE IL 60055



                  INDUSTRIAL KINETICS, INC
                  2535 CURTIS ST.
                  DOWNERS GROVE IL 60515



                  IRS
                  PO BOX 7346
                  PHILADELPHIA PA 19101-7346



                  JACK RUTH
                  13750 FLAGSTAFF AVE
                  APPLE VALLEY MN 55124



                  JOHN DUR FINANCIAL CONSULTING LLC
                  132 BAYCREST COURT #132
                  NEWPORT BEACH CA 92660



                  JOHN OCHS
                  1160 TOWN CENTRE DR. APT 4
                  EAGAN MN 55123



                  JOULIN
                  2551 US HWY 70 SW
                  HICKORY NC 28602



                  JUSTIN BERG
                  126 21ST AVE. N
                  SOUTH SAINT PAUL MN 55075



                  JUSTIN OOI
                  OOI YU CHEN A-5-2, TROPICANA BAY RESIDEN
                  PERSIARAN BAYAN INDAH
                  PENANG, MALAYSIA 11900
Case 23-31472   Doc 1   Filed 07/26/23 Entered 07/26/23 18:03:02   Desc Main
                         Document     Page 47 of 52



                  KEVIN P. SMITH
                  3250 W 66TH ST. #242
                  EDINA MN 55435



                  KEYENCE CORP OF AMERICA
                  DEPT CH 17128
                  PALATINE IL 60055



                  LANG THAO
                  1238 JESSIE STREET
                  SAINT PAUL MN 55130



                  LAW OFFICES OF ISAAC H GREENFIELD PLLC
                  ATTN ISSAC H GREENFIELD ESQ
                  2 EXECUTIVE BLVD STE 305
                  SUFFERN NY 10901



                  LEGEND ADVANCE FUNDING II LLC
                  800 BRICKELL AVE SUITE 902
                  MIAMI FL 33131



                  LLM PUBLICATIONS
                  PO BOX 25120
                  PORTLAND OR 97298



                  LORI THOMPSON
                  1005 TRILLIUM COURT
                  EAGAN MN 55123



                  LUMINATE BANK
                  5900 GREEN OAK DR. SUITE 100
                  MINNETONKA MN 55343



                  MACKUBIN AUTOMATION
                  2491 15TH ST. NW
                  NEW BRIGHTON MN 55112
Case 23-31472   Doc 1   Filed 07/26/23 Entered 07/26/23 18:03:02   Desc Main
                         Document     Page 48 of 52



                  MARTINEZ LAW PA
                  CHRIS MARTINEZ ESQ
                  2525 PONCE DE LEON BLVD STE 300
                  CORAL GABLES FL 33134



                  METROPOLITAN MECHANICAL CONTRACTORS INC
                  121 S 8TH ST. SUITE 203
                  MINNEAPOLIS MN 55402



                  MIDWEST CRATING UNLIMITED
                  6805 20TH AVE. SOUTH SUITE 100
                  CENTERVILLE MN 55038



                  MILLIBAR
                  122 SOUTH STREET REAR
                  HOPKINTON MA 01748



                  MILLWOOD METALWORKS, INC
                  315 INDUSTRIAL
                  PO BOX 339
                  FREEPORT MN 56331



                  MINNESOTA DEPT OF REV
                  COLLECTION DIVISION
                  PO BOX 64564
                  SAINT PAUL MN 55164-0564



                  MMC CONTROLS
                  7450 FLYING CLOUD DRIVE
                  EDEN PRAIRIE MN 55344



                  NCS CREDIT
                  PO BOX 24101
                  CLEVELAND OH 44124



                  NORDSON CORPORATION
                  PO BOX 802586
                  CHICAGO IL 60680
Case 23-31472   Doc 1   Filed 07/26/23 Entered 07/26/23 18:03:02   Desc Main
                         Document     Page 49 of 52



                  NORTHAMCON, LLC
                  PO BOX 454
                  ALPENA MI 49707



                  PACIFIC RESOURCES GROUP
                  151 KALMUS DRIVE STE C-225
                  COSTA MESA CA 92626



                  PEPPERL+FUCHS
                  1600 ENTERPRISE PARKWAY
                  TWINSBURG OH 44087



                  POWERNATION
                  PO BOX 860314
                  MINNEAPOLIS MN 55486



                  PROLOGIS, LP
                  1800 WAZEE ST. SUITE 500
                  DENVER CO 80202



                  QUALITY CONVEYORS
                  550 SPRIAL BLVD
                  HASTINGS MN 55033



                  RON JOST
                  652 136TH LN. NE
                  HAM LAKE MN 55304



                  RYAN DARST
                  454 7TH AVENUE SOUTH
                  SOUTH SAINT PAUL MN 55075



                  SNO PAC FOODS INC
                  521 W ENTERPRISE DR
                  CALEDONIA MN 55921
Case 23-31472   Doc 1   Filed 07/26/23 Entered 07/26/23 18:03:02   Desc Main
                         Document     Page 50 of 52



                  STAUBIL CORPORATION - ROBOTICS DIVISION
                  PO BOX 189
                  DUNCAN SC 29334



                  TAFT STETTINUS & HOLLISTER LLP
                  ATTN PATRICK J LINDMARK
                  80 SOUTH EIGHT ST STE 2000
                  MINNEAPOLIS MN 55402



                  THEAN ANG
                  3172 NORTH VIEW LANE
                  WOODBURY MN 55125



                  TIGHE KRESS AND ORR CPAS
                  ATTN ACCOUNTS RECEIVALBE
                  2205 POINT BLVD STE 100
                  ELGIN IL 60123



                  TIM HEDLUND
                  13250 KERRY LANE
                  EDEN PRAIRIE MN 55346



                  TIM HEDLUND AND JACK RUTH
                  13250 KERRY LANE
                  EDEN PRAIRIE MN 55346



                  TIMOTHY W FAFINSKI
                  CORPORATE COUNSEL PA
                  3411 BREI KESSEL RD
                  INDEPENDENCE MN 55359



                  TOM ALESSI
                  1706 PIERCE ST. NE
                  MINNEAPOLIS MN 55413



                  TRIANGLE WAREHOUSE
                  PO BOX 581669
                  MINNEAPOLIS MN 55458
Case 23-31472   Doc 1   Filed 07/26/23 Entered 07/26/23 18:03:02   Desc Main
                         Document     Page 51 of 52



                  TROY C KEPLER ESQ
                  408 E MAIN ST BLD 300 STE 1
                  MARSHALL MN 56258



                  US BANK EQUIPMENT FINANCE
                  1310 MADRID ST
                  MARSHALL MN 56258



                  US SMALL BUSINESS ADMIN
                  MINNESOTA DISTRICT OFFICE
                  330 2ND AVE S STE 430
                  MINNEAPOLIS MN 55401-2224



                  US SMALL BUSINESS ADMINISTRATION
                  ATTN DEFAULTS
                  2 NORTH ST STE 320
                  BIRMINGHAM AL 35203



                  VAN METER
                  7450 95TH ST. S
                  COTTAGE GROVE MN 55016



                  VIRTUS LAW PLLC
                  ATTN: TIM FAFINSKI
                  7040 LAKELAND AVE. SUITE 100
                  MINNEAPOLIS MN 55428



                  WELLS FARGO COORDINATED BUSINESS
                  PO BOX 10306
                  DES MOINES IA 50306



                  WERNER ELECTRIC
                  1000 24TH AVE NW
                  OWATONNA MN 55060-1069



                  WINTHROP AND WEINSTINE
                  CYNTHIA HEGARTY ESQ
                  225 SOUTH SIXTH ST STE 3500
                  MINNEAPOLIS MN 55402
Case 23-31472   Doc 1   Filed 07/26/23 Entered 07/26/23 18:03:02   Desc Main
                         Document     Page 52 of 52



                  XCEL ENERGY
                  BANKRUPTCY DEPT
                  PO BOX 9477
                  MINNEAPOLIS MN 55484



                  XOMETRY
                  PO BOX 735303
                  DALLAS TX 75373



                  YNS FUNDING LLC
                  99 WALL STREET STE 2497
                  NEW YORK NY 10005



                  ZETAGROUP
                  501 COUNTY RD. U
                  WRIGHTSTOWN WI 54180



                  ZZZ ADJUSTMENT
